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UN|TED STATES BANKRUFTCY COURT
EASTERN DlSTRlCT OF LOU|S|ANA

In re: )

)
SHUSHAN, SIDNEY LEVIN ) Case No. 15-12570
SHUSHAN, CANDIDA FAIRFIELD )

) Chapter 7
Debtor(s) )

)

TRUSTEE'S REPORT OF SALE

 

The Trustee of the above referenced estate pursuant to F.R.B.P. 6004 (f) (1) presents the following Report of
Sale:

1. The Trustee certifies that he obtained an Order (a copy of which is attached) authorizing the
Trustee to sell Unit 1001 of the Riverwood Condominium located at municipal address 2301
Edenborn, Metairie, Louisiana 70001,

2. The property known as Unit 1001 of the Riverwood Condominium located at municipal address
2301 Edenborn, Metairie, Louisiana 70001, was sold to Michael A. Villarejos on September 15,
2016 for $36,000.00. Funds were disbursed pursuant to the Court’s Order dated August 22,
2016 and as reflected in the attached Settlement Statement.

June 14, 2018 M£’./>./

Date Wilbur J. ”Bill” Babin,/Jr., Trustee

CERT|F|CATE OF lVlAlLING

l HEREBY CERT|FY that on .|une 14, 2018, a true copy of the foregoing was served by depositing same in the
United States mail, postage prepaid and properly addressed to:

OFFlCE OF THE UN|TED STATES TRUSTEE
400 Poydras Street

Suite 2110

New Orleans, LA 70130

w@/z~%

Wilbur 1. ”Bill" Baf{n, Jr., Trustee

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE EASTERN DISTRICT OF LOUISIANA

IN THE MATTER GF: * NO. 15~12570
=l<
SIDNEY L. SHUSHAN * SECTION A
CANDIDA F. SHUSHAN *
* CHAPTER 7
Debtors *
* * >i= >i< >1< >i= =1<
_O_KDE_R

Trustee’s Application for Authority to Sell Property at Private Sale Free and Clear of All
Liens, Claims and Encumbrances, came on for hearing on the 16th day of August, 2016.

Appearances:

Wilbur J. Babin, Jr., Trustee;

Robin Byrd, Bidder; and

Mr. Villarejos, on behalf of Desiree' Villarejos, Bidder

The Court considering all notice and hearing requirements of the Bankruptcy Code,
Bankruptcy Rules, Local Rules, and any other applicable law having been satisfied and further
considering the Objection/Higher Offer [P-68] and the law and evidence to be in favor of trustee:

IT IS HEREBY ORDERED that Trustee’s Application for Authority to Sell Property at
Private Sale Free and Clear of All Liens, Claims and Encumbrances be and the same is hereby
granted;

IT IS FURTHER ORDERED that trustee be and he is hereby authorized to sell the debtor’s
one hundred (100%) percent interest in Unit 1001 of the Riverwood Condominium at municipal
address 2301 Edenborn, Metairie, LA (“Unit 1001"), more particularly described on Exhibit “A”

attached hereto, to Desiree R. Villarejos, her assignee or designee, for and in consideration of the

payment of THIRTY-SIX THOUSAND AND NO/100 ($36,000.00) DGLLARS;

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IT IS FURTHER ORDERED that Desiree R. Villarejos shall close the sale on or before
thirty (30) days after the signing of this Order;

IT IS FURTHER ORDERED that should Desiree R. Villarejos fail to close the sale on or
before thirty (30) days after the signing of this Order, trustee shall be authorized to sell the above
described property to Robin Byrd, her assignee or designee, for and in consideration of the payment
of THIRTY-FIVE THOUSAND AND NO/ 100 ($35,000.00) DOLLARS;

IT IS FURTHER ORDERED that trustee be and he is hereby authorized to return Robin
Byrd’s deposit in the amount of THREE THOUSAND AND NO/ 100 ($3,000.00) DOLLARS;

IT IS FURTHER ORDERED that trustee be and he is hereby authorized to pay from the

proceeds of said sale:

l. Usual and customary seller’s closing costs including the cost to cancel all
inscriptions against the property;

2. Property taxes prorated through the date of sale; and

3. Riverwood Condominium Association, LLC fees through the date of sale in the

approximate amount of SIX THOUSAND THREE HUNDRED FIFTY~ONE AND
31/100 ($6,351.31) DOLLARS;

IT IS FURTHER ORDERED that the balance of the proceeds, less and except a $5,000.00
plus 10% of the purchase price over $30,000.00 (currently $600.00) carve out for the Bankruptcy
Estate shall be paid to Ajubita, Lefwich & Salzer, LLC in full satisfaction of that mortgage recorded
on January 18, 2011 at Instrument No. 11102373 and Mortgage Book 4472 Page 372 of the
mortgage records of the Parish of Jefferson, State of Louisiana, Which the sheriff and ex officio
recorder of mortgages of Jefferson Parish shall be authorized to cancel upon payment of the
purchase price;

IT IS FURTHER ORDERED that Ajubita, Lefwich & Salzer, LLC shall retain an

unsecured claim for the balance of the debt owed to;

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IT IS FURTHER ORDERED that said property shall be sold “as is, where is” with no
warranty whatsoever except as to clear title;

IT IS FURTHER ORDERED that said property shall be sold free and clear of all liens,
claims and encumbrances in so far as they bear against the property referred to herein. Any liens,
claims and encumbrances, except those set forth above, shall be relegated to the proceeds of the sale
of said property to be paid in accordance with the provisions of the U.S. Bankruptcy Code, and all
such liens, claims, and encumbrances shall be canceled upon payment of the purchase price and the
sheriff and ex officio recorder of mortgages of Jefferson Parish be and he is hereby authorized to
cancel any such inscriptions in so far as they bear against the property referred to herein;

IT IS FURTHER ORDERED that the sheriff and ex officio recorder of mortgages of
Jefferson Parish be and he is hereby specifically authorized to cancel the inscription of that tax lien
against Sidney Shushan in favor of the U.S. Internal Revenue Service in the amount of $38,507.35
recorded August 15, 2012 at Instrument #11238786 and Mortgage Book 4541 Page 676 of the
mortgage records of the Parish of Jefferson, State of Louisiana but only in so far as it bears against
the property referred to herein;

IT IS FURTHER ORDERED that trustee be and he is hereby authorized to execute any
and all documents necessary to effect said sale under the above mentioned terms and conditions.

IT IS FURTHER ORDERED that movant shall serve a copy of this Order on the required
parties who will not receive notice through the ECF System pursuant to the F ederal Rules of
Bankruptcy Procedure and the Local Bankruptcy Rules and tile a certificate of service to that effect
within three (3) days.

New Orleans, Louisiana, August 22, 2016.

l._.)-§
`\\ /,/-" """\
§on. Eli¥abeth W.§lagner
U.S. ankruptcy Ju ge`~

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'IHAT CERTAIN CONDOWIUM PARCEL, consi.s ` ofUNIT NO. 1001 of
y RIVER OOD CONDOMINIUM, together with tlii:g\mdividedlnterest in the

Common Blemeots of the Condominitaa Dcoiamtion executed by Goldsm.ith~

emanch `Aparunents, by an act before chcy O’Connor, Jr., ~N.P., dated
Dcccmber ii 1z 1 8 , Bicd for record in the oUcc ofthe Clcrk ofCourt for Je&'czson
Parish, bouismnaon Decembe`r 15, 1981, under Bntxy'No. 996005, in COB 1016,
foho 762. The Rivechcd Condominium is situated upon Ptots 111 and 112,
Heasxner Farms Subdivision, Parish ofIcR”crson, State ofLonisiano, and beam the
Municipal y.'No. 2301 Bdcnborn Avcnttc and acquired at Sbcri£?s Sale, 24‘h JDC
Bmceedingsr#351-453,‘in the matter entitled Fi:st Fi.\mncial Bank, I-’_SB vs. Stc on

. Simon, per act dated Ma.tch 16,'1988, filed Aprll 19, 1988, registered in CB
1935, folio 1 15, under Bntzy No. 88»`.15907, Jefferson Pan`sh, Louisiana,

Togc_thcr with ali thc buildings and improvements situated on the above-desczi
immovable property and all,appurtenances,~ righta,~ways, privilegea, servitudes, prescrt tioos an
advantages thcre_xmto belonging or in anywise appertaixdng, including,\ but without 11 tation, alba
co omni parts of thc, above-described immovabie property, vand all component parts cf an a
bang or other construction located on the above-described immovable proper¢y, nowgrherca.fte 311
a pm ofor attached to said bmnovable prong or used in connection therewith (said immovable
property, to ether withaaid buildto&aand g provcmcnts and other rights, priviiegcs and interco
encumberedgor conveyed hereby co ectlvcly referred to as the ”Prcmisea").

The Prcmlscs have amun.iclpnl address of 2301 Edenbom Avenue, Unit No. 1001, Mom!d
IeEexson Parish, Louisiana,

Further together width thc tight to receive proceeds attributable to thc insurance loss cf th
Premises, all as provided in Louisiana Reviacd Statutcs 9:5386. .

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A. Settlement Statement

v

B. Type of Loan

1.1:1 FHA 2.1:| RHS 3.1`_'1 Conv. Unins.

4.13 VA 5.1:1 Conv. lns.

6. File Number 7. Loan Number

U.S. Department of Housing

and Urban Deve[opment OMB Approva| No. 2502-0265

8. Mortgage lnsurance Case Number
LV315-16

C. Note: Thls form is furnished to give you a statement of actual settlement costs. Amounts paid to and by the settlement agent are shown. ltems

marked were
D. Name and Address of Borrower
Michael A. Villarejos
2205 Neyrey Drive
Metairie, LA 70001

G. Property Location
2301 Edenborn Avenue, Unit 1001
Melairie, LA 70001

J. SUMMARV BORROWER'S

9/1510

200. AMOUNTS PAlD BY OR lN BEHALF OF BORRCWER

or earnest
202. amount of new
203. taken
204.

205.

206.

208.
209.

are shown here for information and are not included in the totals.

E. Name and Address of Seller F. Name and Address of Lénder
Succession of Ruth M. Shushan CASH
C/O Wilbur J. Babin, Jr.. Trustee
3027 Ridgelake Drive
Melairie, LA 70002

H. Sett|ementAgent
Bayou Title |nc 504-283-3701
200 Robert E. Lee New LA 70124
Place of Settlement |. Settlement Date
200 Robert E. Lee Boulevard _ 09/15/16
New Orleans, LA 70124 '
DD: 09/15/16

K. OF

. REDUCT|ONS lN AMOUNT T0 SELLER
. Excess
. Sett|ement to seller
loans taken to
of first loan

of second loan

 

 

F|NAL - 09-15-2016

form HUD-1 (3/86)' ref Handbook 4305.2

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PAlD FROM
BORROWER’S SELLER'S
FUNDS AT FUNDS AT

 

 

F|NAL - 09-15-2016 form HUD~1 (3/86) ref Handbook 4305.2

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ADDENDUM TO HUD-l
SETTLEMENT STATEMENT

I have carefully reviewed the HUD-l Sett_lement Statement and to the best of my knowledge and belief, it is a true
and accurate statement of all receipts and disbursements made on my account or by me in this transaction l further
certify that I have received a copy of the HUD-l Settlcment Statement.

Su§cession of Ruth M. Shushan

s;/;gc&t_¢el L /3/7.(,//Jl M// %/ 41 '

 

 

 

 

 

 

 

 

B`y: sidney L. Shush§n, Independent Mie'iza"el A. villar s
Administrator
Dated: September 15, 2016 Dated: September 15, 2016

The HUD-l Settlement Statement which I have prepared is a true and accurate account of this transaction I have
caused or will cause the funds to be disbursed in accordance with this statement.

Bayou Title Inc.

M w Dated: September 15, 2016

By: i<atherine L. Richardson , Set'tlement Agent

WARNING: It is a crime to knowingly make false statements to the United States on this or any other similar `
form. Penalties upon conviction can include a fine or imprisonment For details see: Title 18 U.S. Code
Section 1001 and Section 1010.

File #: LV3l5-16 HUD Signature Pagc.dot

